Case 3:21-cv-01235 uhPEreDoswaEns 2B 1 Siad@t/BERr Page 1 of 1 Page ID #65
FOR THE SOUTHERN DISTRICT OF ILLINOTS

ecyv-12725-~
David Kraybill Case No. 21-cv-1235-JPG

Former Plaintiff

Vv.

David Mains

Donna Daniels

Affordable Inmate Services, LLC
Defendants

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NOTICE TO COURT

Now comes, David Ktaybil, pro se, to give notice to this court under
Protest, that he cannot even consider any merits of an appeal due to the
fact that he has not had access to a law library or his legal files for at
least several weeks, and has been given no notification when access may or
may not be granted. And since the court refuses to appoint counsel, it is
a harbinger of futility and the only palliative solution is to completly
withdraw from the case and and forfeit any right to appeal (under pretest).
This should not in any way be construed as a direct intent to appeal, but
merely to investigate the merits and possibility of an appeal and the right
to file an appeal. Including, but not limited to investigating the law, legal
fees, processes, casé law, due dates, etc., etc. None of which is possible
Without access to a law library, or my legal files and paperwork, or the
appointment of counsel by this ccurt. Under the circumstances, perhaps this
Honorable Court would at least consider a refund or partial refund of the
initial filing fees (split the costs anyone?) te file this nullified civil suit.

Signed: A, il!

David Kraybill, pro se

Dated; January 10th, 2022

